Case 2:17-cv-00662-JRG-RSP Document 278 Filed 01/09/19 Page 1 of 4 PageID #: 7907



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  INTELLECTUAL VENTURES II LLC,          §
                                         §
           Plaintiff,                    §
                                         §
  v.                                     §                 Civil Action No. 2:17-cv-662-JRG
                                         §
  SPRINT SPECTRUM L.P,                   §                 LEAD CASE
  NEXTEL OPERATIONS, INC.,               §
  ERICSSON INC.,                         §                 JURY TRIAL DEMANDED
  TELEFONAKTIEBOLAGET LM ERICSSON, §
  and ALCATEL-LUCENT USA INC.,           §
                                         §
           Defendants.                   §
  ______________________________________ §
  INTELLECTUAL VENTURES II LLC,          §
                                         §
           Plaintiff,                    §
                                         §
  v.                                     §                 Civil Action No. 2:17-cv-661-JRG
                                         §
  T-MOBILE USA, INC., T-MOBILE US, INC., §                 JURY TRIAL DEMANDED
  ERICSSON INC., and                     §
  TELEFONAKTIEBOLAGET LM ERICSSON, §
                                         §
           Defendants,                   §
                                         §
  NOKIA OF AMERICA CORPORATION,          §
                                         §
           Intervenor.                   §


       T-MOBILE DEFENDANTS’ UNOPPOSED MOTION TO SUBSTITUTE LEAD
                               COUNSEL

         Defendants T-Mobile USA, Inc. and T-Mobile US, Inc. (“T-Mobile”) respectfully file this

  motion for substitution of their lead counsel and request that Asim M. Bhansali of Kwun Bhansali

  Lazarus LLP be substituted as Lead Counsel of Record for T-Mobile USA, Inc. and T-Mobile US,

  Inc., in place of Douglas M. Kubehl of Baker Botts LLP. Asim M. Bhansali previously entered
Case 2:17-cv-00662-JRG-RSP Document 278 Filed 01/09/19 Page 2 of 4 PageID #: 7908



  an appearance in this matter for T-Mobile. This substitution will not delay T-Mobile’s readiness

  for any of the Court’s deadlines, and will not prejudice any party. Counsel for Plaintiff does not

  object to the filing of this Motion.




                                                  2
Case 2:17-cv-00662-JRG-RSP Document 278 Filed 01/09/19 Page 3 of 4 PageID #: 7909



  Dated: January 9, 2019                    Respectfully submitted,


                                  By:       /s/ Melissa R. Smith

                                            Douglas M. Kubehl
                                            Texas State Bar No. 00796909
                                            E-mail: doug.kubehl@bakerbotts.com
                                            Jeffery S. Becker
                                            Texas State Bar No. 24069354
                                            E-mail: jeff.becker@bakerbotts.com
                                            Johnson K. Kuncheria
                                            Texas State Bar No. 24070092
                                            E-mail:johnson.kuncheria@bakerbotts.com
                                            Harrison G. Rich
                                            Texas State Bar No. 24083730
                                            E-mail: harrison.rich@bakerbotts.com
                                            Steven T. Jugle
                                            Texas State Bar No. 24083280
                                            E-mail: steven.jugle@bakerbotts.com
                                            Megan V. LaDriere
                                            Texas State Bar No. 24083348
                                            E-mail: melissa.butler@bakerbotts.com
                                            Melissa L. Butler
                                            Texas State Bar No. 24097442
                                            E-mail: melissa.butler@bakerbotts.com
                                            BAKER BOTTS L.L.P.
                                            2001 Ross Avenue, Suite 900
                                            Dallas, Texas 75201
                                            Telephone: (214) 953-6500
                                            Facsimile: (214) 953-6503

                                            Melissa R. Smith
                                            Texas State Bar No. 24001351
                                            E-mail: melissa@gillamsmithlaw.com
                                            GILLAM & SMITH, LLP
                                            303 South Washington Avenue
                                            Marshall, TX 75670
                                            Telephone: (903) 934-8450
                                            Facsimile: (903) 934-9257

                                            ATTORNEYS FOR ERICSSON INC.,
                                            TELEFONAKTIEBOLAGET LM
                                            ERICSSON, T-MOBILE USA, INC.,
                                            and T-MOBILE US, INC.




                                        3
Case 2:17-cv-00662-JRG-RSP Document 278 Filed 01/09/19 Page 4 of 4 PageID #: 7910



                                                      Asim M. Bhansali
                                                      State Bar No. 90001290
                                                      E-mail: abhansali@kblfirm.com
                                                      KWUN BHANSALI LAZARUS LLP
                                                      555 Montgomery Street, Suite 750
                                                      San Francisco, CA 94111
                                                      Telephone: (415) 391-5400

                                                      Justin K. Sessions
                                                      Email: jsessions@keker.com
                                                      R. Adam Lauridsen
                                                      Email: alauridsen@keker.com
                                                      KEKER, VAN NEST & PETERS LLP
                                                      633 Battery Street
                                                      San Francisco, CA 94111
                                                      Telephone: (415) 391-5400
                                                      Facsimile: (415) 397-7188

                                                      ATTORNEYS FOR T-MOBILE
                                                      USA, INC., and T-MOBILE US, INC.




                                  CERTIFICATE OF SERVICE

         I hereby certify that counsel of record who are deemed to have consented to electronic

  service are being served this 9th day of January, 2019, with a copy of this document via the

  Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                               /s/ Melissa R. Smith
                                               Melissa R. Smith




                                                  4
